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                                  5                          IN THE UNITED STATES DISTRICT COURT
                                  6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                  8        GAVIN NEWSOM, et al.,                        Case No. 25-cv-04870-CRB
                                  9                   Plaintiffs,
                                                                                        SCHEDULING ORDER
                                  10             v.
                                  11       DONALD J. TRUMP, et al.,
                                                      Defendants.
Northern District of California




                                  12
 United States District Court




                                  13           The parties’ July 3 stipulation set a briefing schedule on discovery disputes and
                                  14   Plaintiffs’ pending motion for a preliminary injunction under which supplemental briefing
                                  15   on that motion will conclude on August 6, 2025. Discovery Stip. (dkt. 104) at 3. Pursuant
                                  16   to Federal Rule of Civil Procedure 65(a)(2), the Court will advance the trial on the merits
                                  17   and consolidate it with the preliminary injunction hearing, which the Court sets for August
                                  18   11–13, 2025.1 The Court will not entertain requests or stipulations for extensions of time.
                                  19           IT IS SO ORDERED.
                                  20           Dated: July 9, 2025
                                                                                         CHARLES R. BREYER
                                  21                                                     United States District Judge
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                                  26     The issue of President Trump’s use of 10 U.S.C. § 12406 to federalize the National
                                       Guard is on appeal before the Ninth Circuit, so the Court lacks jurisdiction over this aspect
                                  27   of the case, and the parties will not be expected to address it at the August hearing. See
                                       Discovery Order (dkt. 101) at 2. Otherwise, as already explained, the Court retains
                                  28   jurisdiction to hear evidence and argument on the remaining aspects of the case, including
                                       whether Defendants have violated the Posse Comitatus Act. Id.
